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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 21-20242-CR-ALTONAGA/TORRES

  UNITED STATES OF AMERICA

  v.

  MARK SCOTT GRENON,
  JONATHAN DAVID GRENON,
  JORDAN PAUL GRENON, and
  JOSEPH TIMOTHY GRENON,

              Defendants.
  __________________________________/

                      GOVERNMENT’S MOTION TO CONTINUE TRIAL

         Defendant Mark Grenon and his three sons, defendants Jonathan, Jordan, and Joseph

  Grenon, are charged with leading a decade-long conspiracy in which they sold toxic bleach as a

  “miracle” cure for a litany of serious diseases and disorders, including cancer, Alzheimer’s, autism,

  Parkinson’s, multiple sclerosis, HIV/AIDS, and, most recently, COVID-19. All four defendants

  are also charged with criminal contempt, because when a U.S. District Judge for the Southern

  District of Florida ordered the Grenons to cease distributing their toxic bleach, the Grenons openly

  and vehemently defied the judge’s orders, while threatening the judge with violence.

         Trial is currently set to commence on September 27, 2021. However, Mark and Joseph

  Grenon are presently in Colombia, undergoing extradition proceedings initiated by the United

  States to secure their return to the Southern District of Florida for prosecution. Because they are

  contesting their extraditions, it is doubtful they will be present in this District and ready for trial

  on September 27. Therefore, and for the reasons provided below, the government hereby requests

  that the Court continue the trial in this matter until on or about March 28, 2022, to allow Mark and

  Joseph Grenon to be extradited and all four charged conspirators to be tried together.
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                                          BACKGROUND 1

         A.      The Fraudulent Scheme

         From 2010 through 2020, the defendants manufactured, promoted, sold, and distributed

  Miracle Mineral Solution (“MMS”), a chemical solution containing sodium chlorite and water.

  When ingested orally as directed by the defendants, MMS became chlorine dioxide, a powerful

  bleaching agent typically used for industrial water treatment or bleaching textiles, pulp, and paper.

         The defendants claimed that MMS was a miracle cure-all that could treat, prevent, and cure

  a variety of serious diseases and disorders. However, MMS was not approved by the U.S. Food

  and Drug Administration (“FDA”) for any use whatsoever. Rather, the FDA had previously issued

  public warnings strongly urging consumers not to purchase or use MMS, advising that ingesting

  MMS was the same as drinking bleach and had caused serious and potentially life-threatening side

  effects, including severe vomiting, diarrhea, and life-threatening low blood pressure. FDA

  received numerous reports of adverse reactions to MMS, including hospitalizations, life-

  threatening conditions, and death. According to the American Association of Poison Control

  Centers, since 2014, poison control centers have managed thousands of cases involving chlorine

  dioxide poisoning, many of which involved children who suffered serious side effects, such as a

  six-year-old autistic girl who was hospitalized with liver failure in 2017.

         Over the past decade, the defendants sold tens of thousands of bottles of MMS nationwide,

  including to consumers in the Southern District of Florida. The defendants promoted and

  distributed MMS through a complex network of websites that they created and maintained. These

  websites featured countless newsletters, posts, and articles authored by the defendants, and dozens



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          The United States provides this thorough Background section, despite the relatively
  straightforward relief requested herein, in order to familiarize the Court with the facts of this
  recently filed case, and to underscore the need for a joint trial.
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  of podcasts and video interviews featuring the defendants, in which they touted the miraculous

  healing powers of MMS.

         The defendants were well aware that their marketing activities with respect to MMS were

  unlawful. So, they decided to sell MMS under the guise of the Genesis II Church of Health and

  Healing (“Genesis”), an avowedly non-religious entity that Mark Grenon created in an attempt to

  avoid government regulation of MMS. The defendants repeatedly admitted that they operated the

  Genesis “church” for the express purpose of cloaking their unlawful conduct with respect to MMS

  as constitutionally protected religious exercise, in an attempt to avoid government scrutiny of their

  actions and shield themselves from liability. However, Genesis’ own websites, which were created

  and are maintained by the defendants, described Genesis as a “non-religious church.” And Mark

  Grenon has admitted, in recorded statements, that Genesis “has nothing to do with religion,” and

  that he founded Genesis to “legalize the use of MMS” and avoid “going [ ] to jail.”

             B. The Defendants’ Contemptuous Violation of Court Orders

         In response to the foregoing conduct, on April 16, 2020, the United States filed a civil

  complaint against the above-captioned defendants and Genesis in the U.S. District Court for the

  Southern District of Florida, seeking an injunction to prohibit the defendants from further violating

  the Federal Food, Drug, and Cosmetic Act, 21 U.S.C. § 301 et seq. (“FDCA”), by distributing

  MMS. See United States v. Genesis II Church of Health and Healing, et al., Case No. 20-21601-

  CV-WILLIAMS (hereinafter, the “Civil Docket”), ECF No. 1. U.S. District Judge Kathleen M.

  Williams subsequently issued a Temporary Restraining Order on April 17, 2020 (the “TRO”), and

  an Order of Preliminary Injunction on May 1, 2020 (the “PI”), both of which prohibited the

  defendants from “directly or indirectly, label[ing], hold[ing], and/or distribut[ing] any




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  [misbranded] drug, including but not limited to MMS.” Id., ECF No. 4 (TRO) at 3; ECF No. 26

  (PI) at 8.

          The defendants violated those court orders by continuing to label and distribute MMS. For

  example, on June 13, 2020, Jordan Grenon published a newsletter directing consumers to a video

  featuring Jonathan Grenon, in which Jonathan explained that, despite the TRO and the PI, the

  defendants had decided to continue distributing MMS. A few weeks later, on July 4, 2020,

  Jonathan posted a new video in which he stated that the defendants had distributed “over a

  hundred” bottles of MMS to consumers over the prior two to three weeks.

          While the defendants’ continued distribution of MMS plainly violated the TRO and the PI,

  the defendants’ public statements removed any doubt as to whether those violations were willful.

  For example, on April 21, 2020, in a letter addressed to Judge Williams and attorneys for the

  United States, co-signed by all of the defendants, the defendants claimed that they were “NOT

  bound to obey” the TRO. Civil Docket, ECF No. 11. In another letter addressed to Judge Williams

  and attorneys for the United States dated that same day, Mark Grenon, on behalf of all the

  defendants, wrote: “We are practicing ‘civil disobedience’ against this unjust order! … Civil

  disobedience is permitted in the US Constitution[,] peaceably of course at first[,] if possible . . . .

  NOTE: The 2nd Amendment is there in case it can’t be done peaceably . . . . The Genesis II Church

  of Health and Healing will not stop . . . providing [MMS] to the world!” Id., ECF No. 11.

  Similarly, in several of the weekly Genesis podcasts co-hosted by Mark and Joseph Grenon, they

  acknowledged: “We’re violating a temporary restraining order. Well, we don’t care . . . . . We’re

  going to do it whether you like it or not.” They further threatened to “pick up guns” and instigate

  “a Waco” should the government interfere with the defendants’ marketing of MMS, while

  remarking of Judge Williams, “You think we’re afraid of some Obama-appointed judge that broke



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  their oath? … You’re no judge . . . . This judge could go to jail . . . . You could be taken out Ms.

  Williams . . . . [W]e’re not obeying it. Don’t care what you do.”

               C. Procedural History

            On June 29, 2020, the United States filed a Criminal Complaint charging the defendants

  with conspiracy to defraud the United States and to commit an offense against the United States,

  in violation of 18 U.S.C. § 371, and criminal contempt, in violation of 18 U.S.C. § 401(3). (ECF

  No. 3.)

            On July 8, 2020, Jonathan and Jordan Grenon were arrested on those charges in Bradenton,

  Florida, and made their initial appearances in the Middle District of Florida that same day. Those

  defendants waived their right to counsel and elected to represent themselves. A detention hearing

  was held, at which a U.S. Magistrate Judge ordered those defendants detained pending trial after

  finding, “by a preponderance of the evidence, that no condition or combination of conditions of

  release will reasonably assure either of these defendants’ presence as required, and, by clear and

  convincing evidence, that no condition or combination of conditions of release will reasonably

  assure the safety of the community.” United States v. Grenon, Case No. 20-mj-1657 (M.D. Fla.),

  ECF No. 13 (Detention Order) at 2.

            On August 10, 2020, Mark and Joseph Grenon were arrested in Colombia by Colombian

  law enforcement officers based on provisional arrest requests issued by the United States. Shortly

  thereafter, the United States submitted formal extradition requests to Colombia to secure the

  extraditions of Mark and Joseph Grenon to the United States for prosecution. Mark and Joseph

  Grenon are presently contesting their extraditions, despite the fact that they are both United States

  citizens.




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         On April 22, 2021, a federal grand jury sitting in the Southern District of Florida returned

  an Indictment charging Mark, Jonathan, Jordan, and Joseph Grenon with conspiracy to defraud the

  United States and to commit offenses against the United States, in violation of 18 U.S.C. § 371,

  and criminal contempt, in violation of 18 U.S.C. § 401(3). (ECF No. 16.) According to the United

  States’ estimates of the Sentencing Guidelines, if the defendants are convicted of these offenses,

  they will likely face Guidelines ranges of approximately 168-210 months imprisonment.

         On June 7, 2021, the Court issued an Order Setting Trial Date as to Mark, Jonathan, Jordan,

  and Joseph Grenon, which set trial in this matter for the two-week period commencing September

  27, 2021. (ECF No. 40.) However, given that Mark and Joseph Grenon are still in Colombia

  undergoing extradition proceedings, it is doubtful that they will be extradited in time to proceed to

  trial on September 27, 2021.

             D. The Defendants’ Position Regarding This Motion

         The United States was not able to ascertain whether defendants Jonathan and Jordan

  Grenon consent or object to the relief sought herein because the defendants are proceeding pro se.

  The undersigned Assistant United States Attorneys attempted to obtain the defendants’ positions

  through the defendants’ appointed stand-by counsel, but such attempts were fruitless. However,

  numerous statements made by Jonathan and Jordan Grenon since they were arrested suggest they

  do not desire to proceed to trial until Mark Grenon, their father and the undisputed leader of the

  charged conspiracy, is present to proceed to trial with them. 2




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          Given the foregoing, the United States respectfully suggests that the Court set a status
  conference or motion hearing to ascertain whether Jonathan and Jordan Grenon consent or object
  to the requested trial continuance, or, alternatively, that the Court wait until the deadline for a
  response passes and, if the defendants have not filed a response, then the Court grant the instant
  motion as unopposed and on the merits.
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                                         LEGAL STANDARD

         “District courts have ‘unquestionable’ authority to control their own dockets.” Smith v.

  Psychiatric Solutions, Inc., 750 F.3d 1253, 1262 (11th Cir. 2014) (internal citation omitted). “This

  authority includes ‘broad discretion in deciding how best to manage the cases before them.’” Id.

  (internal citation omitted). Accordingly, “[t]he granting of a continuance is left to the sound

  discretion of the trial judge,” United States v. Warren, 772 F.2d 827, 837 (11th Cir. 1985), and the

  Eleventh Circuit has “clearly stated that [it] will not reverse a district court’s ruling on a motion

  for continuance unless the ruling is arbitrary, unreasonable, and severely prejudicial,” Sec. & Exch.

  Comm’n v. Levin, 849 F.3d 995, 1005 (11th Cir. 2017) (internal citation omitted).

                                             ARGUMENT

         The Court should continue trial in this matter for a period of approximately six months,

  until on or about March 28, 2022, to allow Mark and Joseph Grenon to be extradited to the United

  States and all four defendants to be tried together. The Speedy Trial Act expressly contemplates

  and permits such a continuance to allow for the apprehension of fugitive co-defendants and,

  thereby, a joint trial. Moreover, the ends of justice served by such a continuance would outweigh

  any countervailing interest of the public and the defendants in a speedier trial.

         A.      The Court Should Continue Trial For Six Months So That All Four
                 Defendants Can Be Tried Together.

         “Joint trials play a vital role in the criminal justice system and serve important interests:

  they reduce the risk of inconsistent verdicts and the unfairness inherent in serial trials, lighten the

  burden on victims and witnesses, increase efficiency, and conserve scarce judicial resources.”

  United States v. Lopez, 649 F.3d 1222, 1233 (11th Cir. 2011) (citations omitted); see also

  Richardson v. Marsh, 481 U.S. 200, 210 (1987) (“It would impair both the efficiency and the

  fairness of the criminal justice system to require . . . that prosecutors bring separate proceedings,

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  presenting the same evidence again and again, requiring victims and witnesses to repeat the

  inconvenience (and sometimes trauma) of testifying, and randomly favoring the last-tried

  defendants who have the advantage of knowing the prosecution’s case beforehand.”). “In this

  circuit, the rule about joint trials is that ‘defendants who are indicted together are usually tried

  together.’” Lopez, 649 F.3d at 1234 (quoting United States v. Browne, 505 F.3d 1229, 1268 (11th

  Cir. 2007)). This “rule is even more pronounced in conspiracy cases where the refrain is that

  ‘defendants charged with a common conspiracy should be tried together.’” Id. (internal citation

  omitted); see also Delva v. United States, No. 20-10542, 2021 WL 1149682, at *3 (11th Cir. Mar.

  25, 2021) (recognizing “the general presumption that defendants indicted together will be tried

  together, particularly in conspiracy cases”).

         All of these important interests—reducing the risk of inconsistent verdicts, lightening the

  burden on victims and witnesses, increasing efficiency, and conserving scarce judicial resources—

  would be served in this case by continuing the trial until such time that all the charged conspirators

  can be tried together. The United States will present evidence at trial of a conspiracy that spanned

  over 10 years, victimized thousands of people, and violated a multitude of intertwined FDCA

  statutory provisions and regulations. The defendants, in both their pre-arrest public statements and

  in post-arrest court proceedings, have made clear their intention to claim that their conduct

  constituted protected religious exercise, an argument which will implicate novel and complex legal

  issues. It is therefore unlikely that trial in this case will take less than two weeks—especially if

  the defendants continue to insist upon proceeding pro se, as the difficulties in trying this complex

  case will be exacerbated by the defendants’ decisions to forgo legal counsel and instead represent

  themselves.




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         Subjecting the victims, the witnesses, the Court, the United States, and the community to

  duplicative, burdensome trials in this case, on the same evidence and against defendants charged

  in the same conspiracy, would run directly counter to all of the significant interests identified

  above. To avoid such a result, the Court should grant the requested continuance so that all the

  defendants can be tried together.

             B. A Continuance in This Case Is Expressly Contemplated and Permitted by the
                Speedy Trial Act.

         To be clear, the requested continuance would not violate the Speedy Trial Act. The Speedy

  Trial Act generally requires that “the trial of a defendant charged in an . . . indictment with the

  commission of an offense shall commence within seventy days from the filing date (and making

  public) of the information or indictment, or from the date the defendant has appeared before a

  judicial officer of the court in which such charge is pending, whichever date last occurs.” 18

  U.S.C. § 3161(c)(1).

         As an initial mater, under this Court’s Administrative Orders relating to the Coronavirus

  pandemic, the Speedy Trial clock has not yet begun to run for any of the defendants in this case,

  and will not begin to run until, at the earliest, July 19, 2021. See In Re: Coronovirus Public

  Emergency, Administrative Order 2021-50. Future Administrative Orders excluding time beyond

  July 19, 2021, because of the Coronavirus pandemic, may further render any Speedy Trial concerns

  unfounded.

         Regardless, the Speedy Trial Act excludes from the seventy day period within which trial

  generally must begin certain periods of delay. In pertinent part, the Speedy Trial Act automatically

  excludes “[a] reasonable period of delay when the defendant is joined for trial with a codefendant

  as to whom the time for trial has not run and no motion for severance has been granted.” 18 U.S.C.

  § 3161(h)(6). Read in conjunction with subsection (h)(3)(A), which excludes “[a]ny period of

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   delay resulting from the absence or unavailability of the defendant”—with “absence or

   unavailability of the defendant” defined to include defendants “attempting to avoid apprehension

   or prosecution,” 18 U.S.C. § 3161(h)(3)(B)—subsection (h)(6) embodies the principle that “delay

   caused by an unapprehended codefendant stops the clock for the defendant before the court.”

   United States v. Tobin, 840 F.2d 867, 869 (11th Cir. 1988). In other words, “if the speedy trial

   clock for a co-defendant is not running because the co-defendant is at large and therefore ‘absent’

   within the meaning of § 3161(h)(3), the speedy trial clock for the defendant himself, under

   § 3161(h)(6), generally stops running as well.” United States v. Woodley, 484 F. App’x 310, 315

   (11th Cir. 2012) (citing Tobin, 840 F.2d at 869).

             These provisions of the Speedy Trial Act reinforce the need for a continuance in this case,

   as the statute explicitly contemplates, and permits, continuances necessary to accomplish joint

   trials.    The Eleventh Circuit has often observed that subsection (h)(6) evidences “the strong

   judicial and legislative policy favoring joint trials.” Woodley, 484 F. App’x at 315 (citations

   omitted). Specifically, “the legislative history of the [Speedy Trial] Act indicates that the purpose

   of the [(h)(6)] exclusion was to avoid requiring the government to seek severance in multi-

   defendant trials.” United States v. Davenport, 935 F.2d 1223, 1236 (11th Cir. 1991). As the

   Eleventh Circuit noted in United States v. Varella, “Congress recognized the utility of multi-

   defendant trials to effectuate the prompt efficient disposition of criminal justice. It felt that the

   efficiency and economy of joint trials far outweighed the desirability of granting a severance where

   the criterion was simply the passage of time.” 692 F.2d 1352, 1359 (11th Cir. 1982), cert. denied,

   463 U.S. 1210 (1983). Accordingly, the Eleventh Circuit has repeatedly affirmed the granting of

   continuances, and corresponding exclusions of time under the Speedy Trial Act, where, as here, a

   codefendant had yet to be apprehended. See, e.g., United States v. Murray, 154 F. App’x 740, 746



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   (11th Cir. 2005) (affirming district court’s grant of a continuance of over two years because the

   co-defendant “fought extradition to the United States, and had not yet appeared before a judge,”

   and thus “the Speedy Trial time limit never began to run” with respect to the defendant before the

   court); Davenport, 935 F.2d at 1229-30 (explaining that because the defendant was charged along

   with “unapprehended” and thus “unavailable codefendants,” and because “no motion to sever had

   been granted, the delay occasioned by those codefendants . . . is charged to [the defendant] under

   [subsection (h)(6)]”).

          There is one possible, and in any event, easily avoidable, wrinkle. While the panels in

   Tobin and Davenport affirmed exclusions of speedy trial time under § 3161(h)(6) owing to the

   unavailability of unapprehended co-defendants, both panels also held that subsequent transfers of

   the missing co-defendants to fugitive status “effectively severed them from the case,” and therefore

   “[f]rom that date forward, delay attributable to their fugitive status [was] no longer charged” to the

   apprehended defendants under subsection (h)(6). Davenport, 935 F.2d at 1230 (citing Tobin, 840

   F.2d at 869); see generally 18 U.S.C. § 3161(h)(6) (excluding “[a] reasonable period of delay when

   the defendant is joined for trial with a codefendant as to whom the time for trial has not run and

   no motion for severance has been granted”) (emphasis added). Later decisions by the Eleventh

   Circuit raise questions as to whether these portions of these decisions are good law, as the judicial

   and largely administrative act of transferring a co-defendant to fugitive status—unlike the

   affirmative action by an apprehended defendant to move for a severance—would seem insufficient

   to overcome “the strong judicial and legislative policy favoring joint trials” which animates 18

   U.S.C. § 3161(h)(6). Woodley, 484 F. App’x at 315; see also id. at 317 (“When no motion to sever

   has been granted, let alone made, any delay occasioned by the unavailable co-defendant under

   § 3161(h)(3)(A) is properly charged to the defendant under § 3161(h)(6).”)



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           On May 24, 2021, approximately one month after this Indictment was returned, the Court,

   via a paperless Notice, transferred Mark and Joseph Grenon to fugitive status. (ECF No. 38.) To

   the extent Tobin and Davenport remain good law, delay attributable to defendants Mark and Joseph

   Grenon may not appropriately be charged to defendants Jonathan and Jordan Grenon under

   subsection (h)(6) once the Speedy Trial clock resumes. To avoid any possible question on that

   front, the Court should simply remove Mark and Joseph Grenon from fugitive status.

           Although Mark and Joseph Grenon are in some sense “fugitives” in that they have not yet

   appeared in this case, it is not as though the United States is unaware of their whereabouts. Rather,

   they are being detained in a Colombian prison after the United States submitted to Colombia

   provisional requests for their arrests. Nor is the United States idly waiting for these defendants to

   self-surrender. Rather, the United States has diligently pursued their extradition to this District,

   an effort the government will persist in until Colombia surrenders them to the United States for

   prosecution. Furthermore, given the nature of the charges, as well as the United States citizenship

   of Mark and Joseph Grenon, the United States has no reason to believe that Colombia will not

   grant their extraditions. And since almost a year has elapsed since the United States initiated these

   extradition proceedings, it is highly likely that Mark and Joseph Grenon will be extradited within

   a matter of months.

           Therefore, and to further “the strong judicial and legislative policy favoring joint trials”

   which animates 18 U.S.C. § 3161(h)(6), Woodley, 484 F. App’x at 315, the United States

   respectfully requests that the Court remove defendants Mark and Joseph Grenon from fugitive

   status so that, pursuant to § 3161(h)(6), the speedy trial clock unequivocally will not start running

   with respect to defendants Jonathan and Jordan Grenon until Mark and Joseph Grenon appear in

   this District.



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              C. The Ends of Justice Served by Granting a Continuance Outweigh the Best
                 Interest of the Public and the Defendants in a Speedy Trial.

          In addition to the automatic exclusion owing to a missing co-defendant, as provided by 18

   U.S.C. § 3161(h)(6), the Speedy Trial Act also excludes “[a]ny period of delay resulting from a

   continuance granted by any judge . . . at the request of the attorney for the Government, if the judge

   granted such continuance on the basis of his findings that the ends of justice served by taking such

   action outweigh the best interest of the public and the defendant in a speedy trial.” 18 U.S.C.

   § 3161(h)(7)(A). Although Speed Trial time with respect to defendants Jonathan and Jordan

   Grenon should be automatically excluded under § 3161(h)(6) due to defendants Mark and Joseph

   Grenon not yet appearing, the United States additionally requests that the Court grant the requested

   continuance pursuant to 18 U.S.C. § 3161(h)(7), on the basis of findings that “the ends of justice

   served by taking such action outweigh the best interest of the public and the defendant[s] in a

   speedy trial.” Id.

          In short, a continuance in this case is necessary to achieve a joint trial because Mark and

   Joseph Grenon are contesting their extraditions from Colombia and there is little likelihood that

   they will be returned to the United States and ready for trial by September 27, 2021. As detailed

   in the preceding sections, and as recognized by Congress and the Eleventh Circuit, a joint trial is

   necessary in this case to ensure the efficiency and fairness of the criminal justice system. That is

   especially so since some or all of these defendants will proceed to trial pro se. Therefore, and for

   all of the reasons outlined above, the ends of justice served by a continuance to accomplish a joint

   trial would outweigh the best interest of the public and the defendants in a speedier trial.

                                             CONCLUSION

          For the foregoing reasons, the United States respectfully requests that the Court continue

   trial in this matter until on or about March 28, 2022, to allow defendants Mark and Joseph Grenon

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   to be extradited and all four of the defendants to be tried together. The United States further

   requests that the Court grant this continuance pursuant to 18 U.S.C. § 3161(h)(7), on the basis of

   an ends-of-justice finding, and that the Court transfer defendants Mark and Joseph Grenon out of

   fugitive status so that the speedy trial clock unequivocally stops running with respect to defendants

   Jonathan and Jordan Grenon.

          Because Jonathan and Jordan Grenon are proceeding pro se, the United States does not

   know and cannot state their position on this motion. Accordingly, the United States respectfully

   suggests that the Court set a status conference or motion hearing to inquire as to whether these

   defendants consent or object to the requested trial continuance, or, alternatively, that the Court

   wait until the deadline for a response passes and, if the defendants have not filed a response, then

   the Court grant the instant motion as unopposed and on the merits.

                                                 Respectfully submitted,

                                                 JUAN ANTONIO GONZALEZ
                                                 ACTING UNITED STATES ATTORNEY

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                                   CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 6, 2021, I caused a true and correct copy of the

   foregoing to be delivered via Certified Mail to pro se Defendants Jonathan David Grenon and

   Jordan Paul Grenon, at the Miami Federal Detention Center, Inmate Mail/Parcels, Post Office Box

   019120, Miami, Florida 33101.



                                                      /s/ Michael B. Homer
                                                      MICHAEL B. HOMER
                                                      Assistant United States Attorney




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